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-/ UNITED. STATES. DISTRICT COURT ~

CENTRAL DISTRICT OF ILLINOIS
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4:22-cv-04144-JES Lovett et al v. K
Glossip et al EE a

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ORDERED

U.S, District Court
CENTRAL DISTRICT OF ILLINOIS

Notice of Electronic Filing

The following transaction was entered on 3/26/2024 at 11:26 AM CDT and filed on 3/26/2024

Case Name: Lovett et al v. Glossip et al
Case Number: 4:22-cv-04144-JES
Filer:

Document Number: No document attached

Docket Text:

TEXT ORDER entered by Judge James E. Shadid on 3/26/2024. On March 4, 2024, the Court
directed Plaintiff Bosaw to inform the Court of his new address within 14 days after mail the
Court sent to Plaintiff at the Knox County Jail was returned as undeliverable (d/e 3/4/2024). On
March 25, 2024, Attorney Joel Flaxman filed a "Friend of the Court" Motion Regarding
Plaintiff's Address [36] to inform the Court that Plaintiff Bosaw is located at FCI Oxford. [36] is
GRANTED. The Clerk is directed to update Plaintiff Bosaw's address on the docket. Plaintiff is
reminded of his continued obligation to immediately inform the Court, in writing, of any
change in his mailing address and telephone number. Plaintiff's failure to notify the Court of a
change in mailing address or phone number will result in dismissal of this lawsuit, with
prejudice.(SAG)

4:22-cv-04144-JES Notice has been electronically mailed to:

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Joel A Flaxman jaf@kenlaw.com [= sont NOTICE OF ADDKRESS
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Kyle R. Moore kmoore@ifmklaw.com, docket@ifmklaw.com h NOTICE OF ADDRESS CHANGE

4:22-cv-04144-JES Notice has been delivered by other means to: TO 7 NORTHEDY CSOT

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Notices

4:23-cv-01425-CRL Bosaw v. /
Shadid et al EX 4

58,PRISONER,PROSE

U.S. District Court
CENTRAL DISTRICT OF ILLINOIS
Notice of Electronic Filing

The following transaction was entered on 3/26/2024 at 11:40 AM CDT and filed on 3/26/2024
Case Name: Bosaw v. Shadid et al

Case Number: 1:23-cv-01425-CRL

Filer;

Document Number: No document attached

Docket Text:

NOTICE: The Clerk of the Court has been informed by document filed in case number 22-4144
that Plaintiff has been transferred from Knox County Jail to Oxford FCI. It has been noted by
the Clerks Office that this case is also pending in the Central District of Illinois, but Plaintiff
has not filed a Notice of Change of Address in this case. Plaintiff is reminded that he is under
a continuing obligation to keep the Clerk and each opposing party informed of any change in
his location. Pursuant to Central District of Illinois Loca! Rule 16.3(K), every pro se plaintiff
must notify the Clerk of this court in writing of any change of address during the entire
pendency of his case. It is not the Court's responsibility to independently maintain current
addresses on all parties to pending actions. As a courtesy to Plaintiff, however, the Clerk is
DIRECTED to send a copy of this Notice to Plaintiff at the institution where he has reportedly
been transferred. Plaintiff shall, no later than 14 days from the date of this Notice, file a notice
of change of address with the Clerk. Failure to do So will result in dismissal of this action.
Notice of Change of Address to be filed by plaintiff by 4/9/2024.(SAG)

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1:23-cv-01425-CRL Notice has been electronically mailed to: |

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